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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

UNITED STATES OF AMERICA                )
                                        )
            vs.                         )       Cause No. 3:18-cr-136 RLM
                                        )
KEVIN CLINTON                           )

                                    ORDER

      The court denied Kevin Clinton’s first motion for compassionate release in

light of the COVID-19 pandemic on July 28, 2020. [Doc. No. 92]. Mr. Clinton has

now filed a second motion asking for compassionate release. The only new

reasons Mr. Clinton provides that would justify granting him compassionate

release are: (1) that he now has a newly discovered irregular heartbeat, and (2)

he will turn 65 in February, meaning that he will be a member of the 65 and over

statistical group that the CDC identifies as more likely to die from infection by

COVID-19 than younger statistical groups. Mr. Clinton was fully vaccinated for

COVID-19 in July 2021.

      Mr. Clinton doesn’t present any new evidence to find that there are

extraordinary and compelling reasons that justify granting him compassionate

release. See      United States v. Broadfield, 5 F. 4th 801 (7th Cir. 2021).

Accordingly, the court DENIES Mr. Clinton’s second motion for compassionate

release [Doc. No. 129].

      SO ORDERED.
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      ENTERED:      December 22, 2021



                               /s/ Robert L. Miller, Jr.
                             Judge, United States District Court




cc:   K. Clinton




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